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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

OTHA BENSON                                                                            PLAINTIFF
ADC #101648

v.                              Case No. 4:19-cv-00894-KGB

KERMIT CHANNELLL, II, et al.                                                        DEFENDANTS

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Otha Benson’s complaint is dismissed without prejudice. The relief sought is denied. Dismissal

of this action counts as a “strike” within the meaning of 28 U.S.C. § 1915(g), and the Court certifies

pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the Order and

Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.




                                                              Kristine G. Baker
                                                              United States District Judge
